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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE COMMISSION,

                             Plaintiff,

                   v.                                    No. 1:23-cv-01599 (ABJ)
BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS INC.,
AND CHANGPENG ZHAO,

                             Defendants.

                                     [PROPOSED] ORDER

       Upon consideration of Defendants BAM Trading Services Inc. and BAM Management US

Holdings Inc.’s (together, “BAM”) Motion for a Protective Order (the “Motion”), IT IS HEREBY

ORDERED THAT:

       1.     The Motion is granted in its entirety.

       2.     Plaintiff Securities and Exchange Commission’s request that BAM produce “all

communications” responsive to requests in the SEC’s First Set of Requests for Production of

Documents and Inspection to BAM, dated June 23, 2023, for BAM employees noticed for

depositions by the SEC is quashed.

       3.     The SEC is precluded from deposing Brian Shroder, BAM’s Chief Executive

Officer, and Jasmine Lee, BAM’s Chief Financial Officer, pursuant to the Consent Order.
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         4.    During depositions pursuant to the Consent Order (Dkt. 71), the SEC may not

question witnesses concerning topics outside the scope of the Consent Order, which would include

inquiries concerning BAM’s historical asset custody practices or the merits of this case.



                                                      HON. AMY BERMAN JACKSON
                                                     UNITED STATES DISTRICT JUDGE
Dated:

SERVE: ALL COUNSEL OF RECORD




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